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AO 467 (Rev. 01/09) Order Requiring a Defendant to Appear in the District Where Charges are Pending and Transferring Bail


                                        UNITED STATES DISTRICT COURT
                                                                           for the
                                                    Northern District
                                                     __________       of Illinois
                                                                   District  of __________

                   United States of America                                    )
                              v.
                       Judith Harskey
                                                                               )       Case No.1:24-CR-00117
                                                                               )
                                                                               )       Charging District: Eastern District of Kentucky
                              Defendant                                        )       Charging District’s Case No. 6:24-cr-10-CHB-01


                      ORDER REQUIRING A DEFENDANT TO APPEAR IN THE DISTRICT
                        WHERE CHARGES ARE PENDING AND TRANSFERRING BAIL

        After a hearing in this court, the defendant is released from custody and ordered to appear in the district court
where the charges are pending to answer those charges. If the time to appear in that court has not yet been set, the
defendant must appear when notified to do so. Otherwise, the time and place to appear in that court are:

Place:                                                                                 Courtroom No.:
                                                                                       Date and Time:

        The clerk is ordered to transfer any bail deposited in the registry of this court to the clerk of the court where the
charges are pending.


Date:            03/05/2024
                                                                                                           Judge’s signature


                                                                                             Jeffrey Cole U.S. Magistrate Judge
                                                                                                        Printed name and title




         Print                         Save As...                                                                                 Reset
